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 9                         IN THE UNITED STATES DISTRICT COURT FOR THE
10                               EASTERN DISTRICT OF CALIFORNIA
11
      UNITED STATES OF AMERICA,                      ) Case No.: 1:15-CR-00104-AWI-SKO
12                                                   )
              Plaintiff,                             )
13                                                   ) JOINT STIPULATION TO CONTINUE
      vs.                                            )
14                                                   ) SENTENCING; AND ORDER
                                                     )
15                                                   )
      IRAN DENNIS FOSTER,
                                                     )
16                                                   )
               Defendant.
                                                     )
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                                                     )
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            IT IS HEREBY STIPULATED by and between Mark A. Broughton, the attorney for
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20   Defendant Iran Dennis Foster, and Melanie Alsworth, Assistant United States Attorney, that the

21   Sentencing Hearing set for July 10, 2017, at 10:00 a.m., be continued to August 14, 2017 at
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     10:00 a.m.
23
            The Stipulation is based on good cause. This continuance is requested by counsel for
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     Defendant FOSTER, due to the fact that the probation report will not be ready in time for
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26
     Sentencing. Counsel for Defendant has spoken to the A.U.S. A, Melanie Alsworth and Megan

27   Pascual from U.S. Probation, who have no objections to this continuance.
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           Case 1:15-cr-00104-AWI-SKO Document 213 Filed 05/10/17 Page 2 of 2



 1          For the above stated reasons, the stipulated continuance will conserve time and resources
 2   for both the parties and the court, and the delay resulting from this continuance shall be excluded
 3   in the interests of justice pursuant to 18 U.S.C. § 3161(h) (7)(A).
 4          IT IS SO STIPULATED.
 5

 6
     DATED: May 9, 2017                                    /s/ Melanie Alsworth__
                                                           MELANIE ALSWORTH
 7                                                         Assistant United States Attorney

 8
     DATED: May 9, 2017                                    /s/Mark A. Broughton
 9                                                         MARK A. BROUGHTON
                                                           Attorney for IRAN DENNIS FOSTER
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12                                                 ORDER
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     IT IS SO ORDERED.

15   Dated: May 10, 2017
                                                  SENIOR DISTRICT JUDGE
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